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                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                     *       CIVIL ACTION
                                          *
                                          *       NO. 2:20-cv-2679
VERSUS                                    *
                                          *       JUDGE GREG G. GUIDRY
ADMINISTRATORS OF THE                     *
TULANE EDUCATIONAL FUND                   *       MAGISTRATE JUDGE KAREN WELLS ROBY

                                              ORDER

       Considering the above and foregoing;

       IT IS ORDERED that Princess Dennar, M.D., be granted leave of court to file her Second

 Supplemental and Amended Complaint.

       New Orleans, Louisiana, this      day of                      , 2021.




                                          UNITED STATES DISTRICT JUDGE




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